                                                 Entered on Docket
                                                 July 31, 2018
                                                 EDWARD J. EMMONS, CLERK
                                                 U.S. BANKRUPTCY COURT
                                                 NORTHERN DISTRICT OF CALIFORNIA


  1   Gregg S. Kleiner (SBN 141311)
      RINCON LAW LLP
  2   268 Bush Street, Suite 3335
      San Francisco, CA 94104                  The following constitutes
  3   Tel: 415-672-5991                        the order of the court. Signed July 31, 2018
      Fax: 415-680-1712
  4   gkleiner@rinconlawllp.com
  5
      Counsel for                               _________________________________________________
      DORIS A. KAELIN,                          M. Elaine Hammond
  6                                             U.S. Bankruptcy Judge
      Trustee in Bankruptcy
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  8                              UNITED STATES BANKRUPTCY COURT

  9                              NORTHERN DISTRICT OF CALIFORNIA

 10                                         SAN JOSE DIVISION

 11   In re                                                Case No. 18-50398 MEH
                                                           Chapter 7
 12                                                        Hon. M. Elaine Hammond
              TECHSHOP, INC.,
 13                                                        ORDER PURSUANT TO BANKRUPTCY
                     Debtor.                               RULE 2002(h) DESIGNATING
 14                                                        RECIPIENTS OF NOTICES REQUIRED
                                                           UNDER 2002(a)
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 17           On the Application of Doris Kaelin, Trustee in Bankruptcy (“Trustee”) of the estate of the

 18   above-named Debtor, and good cause appearing;

 19           IT IS ORDERED that, pursuant to Rule 2002(h) of the Federal Rules of Bankruptcy

 20   Procedure (“F.R.B.P.”), all notices in this case required by Rule 2002(a) of the F.R.B.P., except

 21   notice of matters specified under Rule 2002(a)(4), shall be sufficient if mailed only to the Trustee,

 22   the United States Trustee, the Debtor, the interested taxing authorities, creditors whose claims have

 23   been filed, those persons who have requested special notice, and creditors, if any, who are still

 24   permitted to file claims by reason of any extension hereafter granted under Rule 3002(c)(6).

 25                                         **END OF ORDER**

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Case: 18-50398      Doc# 141     Filed: 07/31/18     Entered: 07/31/18 12:36:57        Page 1 of 2
  1                              ** COURT SERVICE LIST **

  2   MAIL SERVICE NOT REQUIRED

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Case: 18-50398   Doc# 141   Filed: 07/31/18   Entered: 07/31/18 12:36:57   Page 2 of 2
